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14                                     UNITED STATES DISTRICT COURT
15                                  NORTHERN DISTRICT OF CALIFORNIA
16

17   ANGELA KENNARD, on behalf of herself, all            Case No. 3:21-cv-7211-WHO
     others similarly situated, and the general public,
18                                                        The Honorable William H. Orrick III
                                    Plaintiff,
19                                                        STATEMENT OF RECENT DECISION
            v.
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     KELLOGG SALES COMPANY,
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                                    Defendant.
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                                           STATEMENT OF RECENT DECISION
                                              CASE NO. 3:21-CV-7211-WHO
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 1                                STATEMENT OF RECENT DECISION

 2          Pursuant to Civil Local Rule 7-3(d)(2), Defendant Kellogg Sales Company respectfully submits the

 3   attached decision of the Honorable Edward J. Davila in Puri v. Costco Wholesale Corp., Case No. 5:21-

 4   cv-1202-EJD (N.D. Cal.), which was issued on December 20, 2021, in connection with its pending motion

 5   to dismiss.

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 7   DATED: December 29, 2021                     JENNER & BLOCK LLP
 8
                                            By:             /s/ Dean N. Panos
 9                                                              Dean N. Panos

10                                                Attorneys for Defendant
                                                  Kellogg Sales Company
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                                        STATEMENT OF RECENT DECISION
                                           CASE NO. 3:21-CV-7211-WHO
